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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                             GAINESVILLE DIVISION

JEREMY B. HALES,                         )
                                         )
     Plaintiff,                          )
                                         ) Case No. 1:24-cv-45AW-ZCB
vs.                                      )
                                         )
LYNETTE MICHELLE LACEY                   )
ALEXIS PRESTON                           )
                                         )
and                                      )
                                         )
JOHN COOK,                               )
                                         )
     Defendants.                         )
_________________________________________/
    MEMORANDUM IN OPPOSITION TO DEFENDANT PRESTON’S
                       MOTION TO DISMISS

        Plaintiff JEREMY B. HALES (“Mr. Hales”), by and through undersigned

counsel and pursuant to Fed. R. Civ. P. 12(b)(l) and 28 U.S.C. § l 332(a), files this

memorandum in opposition pursuant to Local Rule 7.1(e), to Defendant Preston’s

Motion to Dismiss this Complaint for lack of diversity jurisdiction and amount in

controversy (hereinafter, the “Motion”), and states:



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I.       THERE IS COMPLETE DIVERSITY AMONG THE PARTIES.

         1.        Mr. Hales is a resident of Ohio. See Affidavit of Jeremy B. Hales

(hereafter, "Hales Aff."). Inasmuch as both Defendants are residents of Florida, there

is complete diversity jurisdiction. 28 U .S.C. § 1332(a).

         2.        As discussed more fully below, Defendant’s motion lacks merits and

should be denied.

         3.        Federal jurisdiction based on diversity of citizenship requires that the

matter in controversy be between citizens of different states. 28 U.S.C. § 1332(a)(1).

For purposes of diversity jurisdiction, "a natural person is a citizen of the state in

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which he is 'domiciled.'" Smith v. Marcus & Millichap, Inc., 991 F.3d 1145, 1149

(11th Cir. 2021); McCormick v. Aderholt, 293 F.3d 1254, 1257 (11th Cir. 2002)

(noting that for purposes of diversity "citizenship is equivalent to 'domicile'").

"Domicile requires both residence in a state and "an intention to remain there

indefinitely . . ." McCormick, 293 F.3d at 1258 (internal quotation marks omitted).

While "residency is necessary," it alone is insufficient "to establish a citizenship in

a state." Smith v. Marcus & Millichap, Inc., 991 F.3d 1145, 1149 (11th Cir. 2021)

(citing Travaglio v. Am. Express Co., 735 F.3d 1266, 1269 (11th Cir. 2013)). Cf.

McCormick v. Aderholt, 293 F.3d 1254, 1257-58 (11th Cir. 2002) (“A person's

domicile is the place of ‘his true, fixed, and permanent home and principal

establishment, and to which he has the intention of returning whenever he is absent

therefrom.'" Mas v. Perry, 489 F.2d 1396, 1399 (5th Cir. 1974), cert. denied, 419

U.S. 842, 95 S. Ct. 74, 42 L. Ed. 2d 70 (1974) (quoting Stine v. Moore, 213 F.2d

446, 448 (5th Cir. 1954))

      4.     Furthermore, a change of domicile requires a concurrent showing of (1)

physical presence at the new location with (2) an intention to remain there

indefinitely. Id. This means that there is a presumption in favor of continuing

domicile. Mitchell v. United States, 88 U.S. (21 Wall.) 350, 353, 22 L.Ed. 584 (1875)

("domicile once acquired is presumed to continue until it is shown to have been

changed").


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      5.     In September 2023, Mr. Hales filed a lawsuit in the Ohio courts against

Ms. Preston and Mr. Cook. Hales Aff. ¶¶ 20-21. In October 2023, the Ohio courts

issued to final civil protection orders in favor of Mr. Hales and against Ms. Preston

and Mr. Cook. Hales Aff. ¶ 21.

      6.     Mr. Hales (1) has been a domiciliary of the State of Ohio since his birth

in 1977 (Hales Aff. ¶ 6); (2) has always had only an Ohio driver's license (Hales Aff.

¶ 27); (3) motor vehicles are registered in Ohio (Hales Aff. ¶ 30); (4) has his mailing

address in Ohio (Hales Aff. ¶ 30-32); (5) pays property taxes in Ohio (Hales Aff. ¶

28); (6) files his Federal Income taxes from Ohio (Hales Aff. ¶ 31); and (7) intends

to remain a permanent resident and domiciliary of Ohio (Hales Aff. ¶ 6, 25-26).

      7.     In Florida, homestead exemptions are for property owners who

maintain permanent residence at the property in question. See Fla. Const. art. VII, §

6(a). Mr. Hales does not have his homestead in Florida. (Hales Aff. ¶ 7). Cf. Granite

Equipment Leasing Corp. v. Smith's Pride Foods, Inc., 431 F. Supp. 490, 493 (N.D.

Ala. 1977) ("No one can have more than a single homestead exemption, then,

because no one can have more than a single domicile at the time any given debt

arises."). Douse v. Canoe Creek Homeowner's Ass'n, No. 21-10174, 2021 U.S. App.

LEXIS 22473, at *8 (11th Cir. July 29, 2021).

      8.     Thus, as shown supra, Plaintiff has demonstrated complete diversity

among the parties.


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II. THE AMOUNT IN CONTROVERSY REQUIREMENT OF § 1332 IS
SATISFIED.

       9.     Defendant has made a bare-bones allegation that the complaint has “no

allegation establishing the minimum amount in controversy for federal diversity

jurisdiction.” Motion, at p. 3.

       10.    In doing so, Defendant misstates and misrepresents the law to this

Court, by citing to an opinion which does not exist.1

      11.    Defendant’s misrepresentation should not be well taken by this Court.

      12.    "Facial attacks" on the complaint "require[] the court merely to look

and see if [the] plaintiff has sufficiently alleged a basis of subject matter jurisdiction,

and the allegations in his complaint are taken as true for the purposes of the motion."

Menchaca v. Chrysler Credit Corp., 613 F.2d 507, 511 (5th Cir.), cert. denied, 449

U.S. 953, 101 S. Ct. 358, 66 L. Ed. 2d 217 (1980) (citing Mortensen v. First Fed.

Sav. & Loan Ass'n, 549 F.2d 884, 891 (3d Cir. 1977)).”

      13.    There is a “crucial distinction, often overlooked, between 12(b)(1)

motions that attack the complaint on its face and 12(b)(1) motions that attack the




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  The Motion states: “See Lee Mem'l Health Sys. v. Lexington Ins. Co., Case No:
2:18-cv-617-FtM-38UAM (M.D. Fla. Mar. 7, 2019”) ("Other than the conclusory
statement in paragraph 2, there is no factual basis for the court to conclude the
jurisdictional amount is satisfied in this case."). However, the document from that
case from March 7, 2019 contains no such statement and is simply an order
denying consolidation.
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existence of subject matter jurisdiction in fact, quite apart from any pleadings.

Mortensen v. First Fed. Sav. & Loan Ass'n, 549 F.2d 884, 891 (3d Cir. 1977).

      14.     Because 12(b)(6) results in a determination on the merits at an early

stage of a plaintiff's case, the plaintiff is afforded the safeguard of having all its

allegations taken as true and all inferences favorable to plaintiff will be drawn.

Mortensen v. First Fed. Sav. & Loan Ass'n, 549 F.2d 884, 891 (3d Cir. 1977).

      15.     Where the plaintiff has alleged a sum certain that exceeds the requisite

amount in controversy, that amount controls if made in good faith. St. Paul Mercury

Indem. Co. v. Red Cab Co., 303 U.S. 283, 289, 82 L. Ed. 845, 58 S. Ct. 586 (1938).

In order for a court to refuse jurisdiction "it [must] appear to a legal certainty that

the claim is really for less than the jurisdictional amount.”

      16.     In diversity cases – where the basis of the jurisdiction is conferred by

section 1332(a) - the sum demanded in good faith in the initial pleading shall be

deemed to be the amount in controversy." 28 U.S.C § 1446(c)(2). See also St. Paul

Mercury Indem. Co. v. Red Cab Co., 303 U.S. 283, 288-89, 58 S. Ct. 586, 82 L. Ed.

845 (1938).

      17.     The amount in controversy must exceed $75,0000, exclusive of interest

and costs."

      18.     Good faith is measured objectively; 'the question ... is whether to

anyone familiar with the applicable law this claim could objectively have been


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viewed as worth' more than the jurisdictional amount." Abdel-Aleem v. OPK Biotech

LLC, 665 F.3d 38, 41 (1st Cir. 2012) (citing Coventry Sewage Assocs. v. Dworkin

Realty Co., 71 F.3d 1, 6 (1st Cir. 1995)). Cf. Jones v. Landry, 387 F.2d 102, 104 (5th

Cir. 1967) (“The test of the plaintiff's ‘good faith’ is not his subjective state of mind

but a very strict objective standard.”).

      19.    If the sum claimed is made in good faith, the court limits its inquiry to

determining whether it is "a legal certainty that the claim is really for less than the

jurisdictional amount." Ins. Brokers W., Inc. v. Liquid Outcome, LLC, 874 F.3d 294,

297 (1st Cir. 2017). This burden may be met by amending pleadings or submitting

affidavits. Dep't of Recreation & Sports of P.R. v. World Boxing Ass'n, 942 F.2d 84,

88 (1st Cir. 1991).

      20.    To determine the amount in controversy, the district court first looks to

the face of the plaintiff's complaint. See Horton v. Liberty Mut. Ins. Co., 367 U.S.

348, 353, 81 S. Ct. 1570, 6 L. Ed. 2d 890 (1961).

      21.    Also, where, as here, when multiple claims are brought by one plaintiff

against one defendant, the total dollar amount of all claims can be aggregated to

reach the $75,000 threshold. Synder v. Harris, 394 U.S. 332, 335, 89 S. Ct. 1053, 22

L. Ed. 2d 319 (1969).

      22.    Plaintiff has brought multiple claims against Defendant for (1)

Defamation Per Se; (2) Civil Remedies For Criminal Practices Act - Florida RICO


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violations of Fla. Stat. § 836.05; and (3) Tortious Interference With Advantageous

Business Relationships.

      23.    Defamation Per Se does not require any allegation or showing of

damages. Plaintiff's defamation per se claims involve accusations of an infamous

crime which may irreparably impugn his reputation. see Lawnwood Med. Ctr., Inc.

v. Sadow, 43 So. 3d 710, 722-33 (Fla. 4th DCA 2010) (confirming $5 million jury

verdict on surgeon's slander per se claim against hospital), review denied, 36 So. 3d

84 (Fla. 2010), and cert. denied, 562 U.S. 1135, 131 S. Ct. 905, 178 L. Ed. 2d 748

(2011); Johnson v. Clark, 484 F. Supp. 2d 1242, 1254 (M.D. Fla. 2007), aff'd, 294

F. App'x 502 (11th Cir. 2008). profession, an award of damages in excess of $75,000

is not legally impossible.

      24.    In calculating the amount in controversy, the courts have considered,

among other factors, affidavit testimony, prayers for punitive damages and requests

for attorneys’ fees found in the complaint. Cf. Morrison v. Allstate Indem. Co. , 228

F.3d 1255, 1265 (11th Cir. 2000) (“When a statute authorizes the recovery of

attorney’s fees, a reasonable amount of those fees is included in the amount in

controversy”); Velez v. Crown Life Insurance , 599 F.2d 471, 474 (1st Cir. 1979)

(where attorney’s fees are provided by contract or statute, they are properly included

in determining amount in controversy). Here, Plaintiff’s Complaint seeks attorney’s

fees under the Florida RICO statutes, i.e., Fla. Stat. § 772.185. See Complaint, at


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Counts 3 and 4. Thus, attorney’s fees are properly included in determining amount

in controversy. Moreover, all of Plaintiff's remaining claims seek unliquidated

damages in tort, rendering any endeavor at valuating those claims unfeasible absent

a consideration of evidence on damages. Many courts have cautioned against

attempting to appraise such unliquidated tort claims for purposes of determining

jurisdiction because to do so necessarily requires the court to prematurely judge the

merits of the case. See, e.g., Continental Casualty Co. v. Department of Highways,

379 F.2d 673, 675 (5th Cir. 1967) ("[W]e are mindful that when the issue of the

jurisdictional amount is intertwined with the merits of the case, courts should be

careful not to decide the merits, under the guise of determining jurisdiction, without

the ordinary incidents of trial."); Deutsch v. Hewes St. Realty Corp., 359 F.2d 96,

99-100 (2d Cir. 1966) ("If access to federal district courts is to be further limited it

should be done by statute and not by court decisions that permit a district court judge

to prejudge the monetary value of an unliquidated claim."). Plaintiff has over

700,000 subscribers to his YouTube channel. Hales Aff. ¶ 5. This shows that the

damages to that YouTube business should not be difficult to accept in tort. It would

be wholly inappropriate at this juncture to assign a value to Plaintiff's remaining

claims where he has not yet had the opportunity to present his case.

      25.    Thus, it cannot appear to a "legal certainty" that Plaintiff's claimed

damages are (1) not made in good faith and (2) actually for less than the jurisdictional


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threshold. See Federated Mut. Ins. Co. v. McKinnon Motors, LLC, 329 F.3d 805,

807 (11th Cir. 2003). The "legal certainty" standard is high; it is not enough for the

court to find that the plaintiff lacked good faith in alleging his damages, and it is not

enough for the court to earnestly believe that the plaintiff is extremely unlikely to

recover more than the jurisdictional threshold. Rather, the plaintiff's ability to

recover the jurisdictional threshold must amount to a legal impossibility.”).

      26.     This means that an award of damages in excess of $75,000 is not legally

impossible.

      27.     This means the amount in controversy requirement of § 1332 is

satisfied. This Court should not try the issue of damages on a motion to dismiss. See

King v. Gandolfo, 714 F. Supp. 1180, 1183 (M.D. Fla. 1989).

      28.     Because Plaintiff meets both the complete diversity and amount in

controversy requirements, he satisfactorily invokes this Court's diversity jurisdiction

under 28 U.S.C. § 1332. The Court should deny the Motion.


Respectfully submitted,
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      I HEREBY CERTIFY that on March 25, 2024, I electronically filed the

foregoing document with the Clerk of Court using CM/ECF. I also certify that the

foregoing document is being served on this day on all counsel of record, via email

to the Service List below.

                             By: /s/ Randall Shochet
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